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                            U NITED STATES D ISTRICT C OU RT
                            SO UTH ERN DISTRIC T O F FLO RIDA

                           Case No.15-20403-CR-D IM lTR OULEA S

   UNITED STATES O F AM ERIC A

   VS.

   O SCA R DAVID PU LG A RIN-GA NAN ,
         a/k/a çiN iio,''
         a/k/a Gcoroso.''

                 Defendant.                                                          /

                              STIPU LATED FA CTUA L PRO FFER
          lfthism atterwere to proceed to trial,the Governm entw ould prove the stated factsbeyond

   a reasonabledoubt. The Padiesagree thatthese facts,which do notincludea1lfactsknown to the

   Governm ent and the Defendant,O SCAR DA VID PULG AR IN -GA NAN .a/k/a iiN igo,''a/k/a

    Hcoroso,'',are sufficientto provethe guiltforCount 1,thatis,from in and around 2002 through

    on oraboutJune4,2015,in the countriesofColom bia,Venezuela,Ecuador,Guatemala,Panam a,

    Honduras,Costa Rica,N icaragua,M exico.and elsewhere the defendant,violated Title 21,United

    StatesCode,Section 963.
           M ore specifically,during the m iddle of 2009, D EA A gents began investigating Oscar

           PU LG AR IN -GA NAN ,        M edellin, Colom bia based drug traftlcker.
    David
    PULG ARIN -G A NAN worked in drug trafficking ventures w ith various defendants w ho w ere

    prosecuted in the Southern D istrict of Florida. PULGA RIN-GANA N partnered w ith various

    other significant drug traffickers who conspired to send cocaine from Colom bia to Panama,

    Honduras,G uatem ala and M exico. The cocaine was ultim ately destined for the United States.

     PULGA RIN -G ANAN had an ow nership interest in cocaine shipm ents,and also coordinated
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   sending the cocaine from Colom bia by aircraftand go-fastboats.
          A cooperating witness (CW 1) debriefed to Agents that he m et with Oscar David
   PU LG A RIN -GA NAN and was recruited to be the pilot on                     drug tlight for

   PULGA RIN -G ANA N . According to CW 1,he was introduced to PU LG AR IN-G AN AN by

   Hernan LN U who w orks atthe O laya A irportin M edellin,Colom bia around the m iddle of2014.

   Hernan LN U called CW 1 and asked CW I if he could tly a SabrelinerJetaircraft. W hen CW 1

   expressed an interestin piloting the drug tlight,Hernan LN U putCW 1 in directcom m unication

   w ith PULG AR IN-GA NAN .         CW 1 understood from his initial conversations w ith

   PULG AR IN -G ANA N thatthe requestw asto tly adrug shipm ent. CW l stated thathe asked for

    $10,000up frontand would eventuallybepaid substantially moreforactuallyflyingtheshipment
    of cocaine. PU LG ARIN-G ANA N m et w ith CW l in Panam a City, Panam a in the m onths

    leading up to N ovem ber20l4 on num erousoccasions. CW lbegan taking tlightinstnlction from

    a Panam anian based tlight instructor. PU LGA RIN-G ANA N paid for the tlight instruction

    received from Barmes. PULGARIN-GANAN dirtcted CW lto an aircraftbearing tailnum ber

    N 1OOEJ which was located atthe Albrook A irportin Panam a City,Panam a.
           CW 1told Agentsthathe received tlightinstruction foratleastone ortw o m onthsand that

    PULGA RIN-G ANA N paid foratlightm echanic to travelfrom Chicago,lllinoisto Panam a C ity,

    Panam a on at least tw o occasions to conduct maintenance on the Sabreliner.

    PULG ARIN -G AN AN provided the co-pilot to CW l. A dditionally, PULG AR IN -G A NAN

     frequently m etw ith CW Ito receive updateson the statusoftheirtlighttraining and the condition

     ofthe aircraft.
            ln September or October 2014, CW 1 received $30,000 US Dollars from
     PULG ARIN -G AN AN . A representative of CW 1 received the m oney on behalf of CW 1 in



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  M edellin, Colom bia. The test llights and the repair of the Sabreliner continued until

  PULG ARIN -G AN AN showedup to the hangarw herethe airplane wasstored w hile CW 1and the

       ilotwere there aroundN ovem berlSt CW lstated thatPU LG AR IN -G ANA N wasangry that
   CO-P                                 .
   they had not yet departed to pick up the drugs in Apure, V enezuela and transport them to

   Honduras. During variousconversationsbetween C W I,the co-pilotand PULG ARIN -GAN AN ,

   PULG A RIN -G ANA N Iaid outthe plan to CW 1and the co-pilot. PULG A RIN -G ANA N stated

   thatthey would departHoward A irportin Panam a City.Panam a and travelwith a tlightplan to

   Aruba. W hen they arrived close to A ruba,they were to turn off their transponder and tly to

   coordinates that were provided by PULG A RIN-G ANA N to a clandestine air strip in Apure,

   Venezuela. PULG ARIN-G ANAN would providethem both entrance and departurecoordinates

   for both Venezuela and H onduras. Additionally, PULG ARIN-GA NA N agreed to provide a

   radio channel so that CW l and the co-pilot could speak w ith the ground crew located at the

    clandestine airstrip. CW 1 and the co-pilotwere to pick up 1,200 kilograms of cocaine and

    im m ediately departforHondurasto the clandestine airstrip there.
           On Novem ber 3.2014.CW l and the co-pilotarrived atH oward A irportin Panam a City,

    Panama to tly the Sabrelinerto pick up the cocaine in Venezuela and deliveritto Honduras.

    PULGARIN was in Panama City,Panama atthe time and maintained comm unication with the

    co-pilotby telephone. W hen the co-pilotand CW 1 boarded the aircraft,the co-pilotpulled out

    som e pieces ofpaperw ith entrance and departure coordinates on them . The co-pilotrelayed to

    CW 1 that the coordinates,the telephone num ber for the persons on the ground in Venezuela

     receiving the aim lane atthe clandestine airstrip,and the satellite telephone num berforthe phone

     they w ere carrying,were allon a paper. The co-pilotshowed this paperto CW l and C W 1 and

     The co-pilotinputthe coordinates into an aviation G PS thatw as aboard the aircraft. CW l and



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  The co-pilotdeparted Howard A irportin the late m orning ofN ovem ber3,2014.
         CW 1 told Agents thatapproxim ately l hour into the flight,CW l becam e nervous about

  turningoffthetransponderanddroppingdownintoApure,Venezuelaandlandingajetaimlaneon
   a dirtairstrip in Venezuela. CW 1 decided to term inate the trip by pretending thatthere w as a
   pressurization em ergency in the plane. According to CW ISthe co-pilotw asn'tcom petentenough

   to know whetherornotthe pressurization w ascorrectornot. CW 1explained to Theco-pilotthat

   they were going to return to Panam a in orderto have the aircraftrepaired and then would attem pt

   the tlightagain on anotherdate. C W lreceived towerauthorization to return to Panam a. CW l

   stated thathe purposefully Ianded the plane ata high rate ofspeed in orderto run the plane offof

   the end ofthe runway. The plane crashed at the end of the runway and was heavily dam aged.

    CW lstated thattherewereapproximately500gallonsoffuelcontained in drum sinthepassenger
    com partm entofthe aircraftand when the plane w ould run low on fuelthere w ere bladders that

    connected to the w ings to pump the fuelfrom the interior of the aircraftto the fueltanks in the

    w ings. CW land the co-pilotwere concerned thatthe fuelin the drum sw ould explode afterthe

    crash. They Ieftthe airplane running after the crash and ran from the scene. CW 1 stated thata

    shorttim e later,he returned to the aircraft,turned the enginesoffand then again tled the scene.

            CW 1 told Agents that when PULGARIN-GANAN found out what had happened,

     PULG ARIN-G AN AN becam every angry and summ oned CW 1 and the co-pilotto am eeting ata
     mall in Panam a C ity, Panam a. D uring this m eeting,PU LGA RIN-G AN AN interrogated both

     CW l and the co-pilot as to what occurred and whether or not there was a real emergency.
     PULGA RIN-GA NAN told CW land the co-pilotthathe wasgoing to Iose the l,200 kilogram sof

     cocainethatwaswaiting in Apureto bepicked up and he wasvery concerned and angry aboutthat.
     CW 1 offered to participate in the purchase and delivery of a replacem ent aircraft for



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   PULG ARIN-G ANA N and to do so imm ediately. CW 1 stated thatPU LGA RIN -G AN AN paid

   CW 1 approximately $3,000 in cash at the malland instructed CW 1 to Gnd another aircraft.
   PU LG A RIN -GA NAN has since been debriefed and adm itted to the details and his participation

   in this Ioad.
          In 2011 PULGA RIN-G ANA N was working with high level m embers of the
                          According to Pulgarin,ht in concertwith the U suga/urabenos Clan and
   Usuga/urabenosDTO .
   V ictorM osquera.anotherindicted co-conspirator,were involved in a load of 1000 kilosthatwas

   sentfrom Necocli,Colom bia to Honduras. This load was seized by the U.S.CoastG uard atthe

    Panam a/costa Rica border.
           In 2013. PULGA RIN-G ANAN and his co-conspirator m em ber of the Clan

    Usuga/urabenosDTO asked otherco-conspiratorsto use hisHonduran contactsto rescuethe crew

    m em bersofa vesselthathad been scuttle in theocean. Theboatcarrying the cocaine wassentby

    by Clan Usuga/urabenos DTO members and leftfrom N ecocli,destined firstforHonduras w ith

    the ultim ate destination being the U nited States. The co-conspiratorsw ere ultim ately successful

    in rescuing the crew m embersand facilitating theirreturn to Colom bia.

                                                   W IFREDO A.FERRER
                                                   UN TED STA ES ATTORNEY

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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                                       CASE NO .15-20403-CR-DIM ITROULEAS
 UNITED STATES OF AM ERICA
             Plaintiff,



 OSCAR DAVID PULGARIN GANAN
        Defendant

                          AM ENDED ORDER GR ANTING CONTINUANCE
         Thismatterhavingcome beforetheCourton DefendanfsM otion forContinuance.Afterdue

  consideration.itis
          ORDERED AND ADJUDGED thatthiscaseishereby continued to the twoweek trialcalendar

  commencingNovember9,2015 at9:00 A.M .o'clock,orassoon thereafterasthecasemay be called.

  COUNSEL AND DEFENDANTIS)shallreportto aCalendarCallto be held on FRIDA Y,November6,

  2015, at9:00 a.m.o'clock. ltbeing further
         ORDERED thatthe period from the date ofthisordertothetime oftrialshallbedeemed excludable

  in computing thetim ewithin whichthetrialofthiscase mustcom mence pursuantto Title 18,U.S.C.,Section

  3161(h)(8)(A),thisCourtfindsthattheendsofjusticeservedbycontinuingthetrialoutweighthebestinterest

  ofthepublicand thedefendantts)inaspeedytrial.
          DONE AND ORDERED this10t
                                 5day ofSeptember,2015.

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                                   LLIAM P.DIM ITR ULEAS
                               United StatesDistrktJudge




           M ichaelN adler,AUSA
           ScottKalisch,Esq.
